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 8
                         UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
   EDWARD MAKARON,                           Case No.: 2:16-cv-06121-GHK-JC
11
   individually and on behalf of all
12 others similarly situated,
                                             PROOF OF SERVICE
13
     Plaintiff,
14

15
            vs.

16 TARGET ADVANCE LLC, an
17
   individual,

18   Defendant.
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